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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0855V
                                          UNPUBLISHED


    ANITA MCDONALD,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: January 26, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Adhesive Capsulitis

                         Respondent.


Emily Beth Ashe, Anapol Weiss, Philadelphia, PA, for Petitioner.

Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On June 10, 2019, Anita McDonald filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered right shoulder adhesive capsulitis as
a result of an influenza (“flu”) vaccine administered to her on October 12, 2017. Petition
at 1; Stipulation, filed at January 25, 2022, ¶¶ 2, 4. Petitioner further alleges that she
received the vaccine in the United States, that she has experienced the residual effects
of her injury for more than six months, and there has been no prior award or settlement
of a civil action for damages as a result of her alleged condition. Petition at 1, 4; Stipulation
at ¶¶ 3-5. “Respondent denies that petitioner’s right shoulder adhesive capsulitis or any
other injury or condition was caused by her receipt of the flu vaccine, and further denies
that petitioner sustained a SIRVA Table injury.” Stipulation at ¶ 6.



1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on January 25, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $50,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                      IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                OFFICE OF SPECIAL MASTERS


        AN.TTA MCDONALD,                                )
                                                        )
                         Petitioner,                    )
       V.
                                                        )      No. l 9•0855V
                                                        )      Chief Special Master Corcoran.
       SECRETARY OF HEALTH AND HUMAN )                         ECF
       SERVICES,                     ~
       _______________   Respondent.                   )

                                               STIPULATION

             The parties hereby stipulate to the following matters:

              l. Anita McDonald, petitioner, filed a petition for vaccine compensation under the

      National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to -34 (the "Vaccine

      Program"). the petition seeks compensation for injuries allegedly related to petitioner's rccei.pt

      of the influenza vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"),

      42 C.F.R, § 100.3(a).

             2. Petitioner received the influenza vaccinatior.i in her right ann on October 12, 2017,

             3. The vaccine was administered within the United States.

             4. Petitioner alleges that she suffered a .right shoulder adhesive capsulitis, as a result of

      receiving the influenza vaccine 1 and that sbe experienced residual effects of this injury for more

      than six months.

             5. Petitioner represents that there has been no prior award or settlement of a civil action

      for damages on her behalf as a result of her condition.
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                6. Respondent denies that petitioner's alteged right shoulder adhesive capsulitis or any

        other injury or condition was caused by her receipt of the flu vaccine, and further denies that

        petitioner sustain.ed a SIRVA Table injury.

                7. Maintaining their above-stated positions, the parties nevertheless no"v agree that tl1e

        issues between them shall be settled and that a decision slmuld be entered awarding the

        conipensation described in. paragraph 8 of this Stipulation.

                8. As soon as practicable after an entry of judgment reflecting a decision consistent with

        the terms of this Stipulation, and after petitioner has filed an election to receive co,mpcnsation.

        pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services wHI issue

        the following vacci:n.e compensation payment:

                A lump sum of $50,000.00 in the form of a check payable to petitioner. This
                amount represents compensation for all damages that would be available under 42
                U.S.C. § 300aa-15(a).

                9. As soon as practicable after the entry of judgment on entitlement in this case, and after

        petitioner has filed both a proper and timely election to receive compensation pursuant to 42

        U.S.C. § 300aa-2l(a)(1 ), and an application, the parties will submit to further proceedings before

        the special master to award reasonable attorneys' fees and costs incuD"ed in proceeding upon this

        petition.

                10. Petitioner and her attorney represent that compensation to be provided pursuant to

        this Stipulation is not for any items or services for which the Program is not primarHy liable

        under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

        expected to be made under any State compensation programs, insurance policies, Federal or

        State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

        § 1396 ct seq.)), or by entities that prov_ide health services on a pre-paid basis.



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               11. Payment made pursuant to paragraph 8 of this Stipulation, and any amounts awarded

       pursuant to paragraph 9 of this Stipulation, will be made in accordance with 42 U.S.C. § 300aa-

       1S(i), subject to the availabi.iity of sufficient statutOl)' funds.

               12. The parties and their attorneys further agree and stipulate that, except for any award

       for attomeys' fees and litigation costs, and past unreimbursable expenses, the money provided

       pursuant to this Stipulation will be used solely for the benefit of petitioner, as contemplated by a

       strict construction of 42 U.S.C. § 300aa-15(a) and (cl), and subject to the conditions of 42 U.S.C.

       §§ 300aa-15(g) and (h).

              13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

       individual capacity and on. behalf of her heirs, executors, admini5trators, successors or assigns,

       does forever in-evocably and unconditionally release, acquit and discharge the United States at:1d

       the Secretary of Health and Human Services from any and all actions, causes of action (including

       agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

       kind or uature) that have been brought, could have been brought, or could be timely brought in

       the Court of Federal Claims, under the National Vaccine Injury Compensation Program, 42

       U.S.C. § 300aa 10 et seq., on account ot: or in any way growing out of1 any and all known or

      unknown, suspected or unsuspected personal injuries to or dea.th of petitioner resulting from, or

      alleged to have resulted from, the influenza vaccine administered on or about October 12, 2017,

      as alleged by petitioner in a petition for vaccine compeusation filed on June 1.0, 2019, in the

      United States Court of Federal Claims as petition No. 19-0855\f.

              14. If petitioner should die prior to eutry ofjlldgment, this agreement shall be voidable

      upon proper notice to the Court on behalf of either or botb of the parties.




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                 15. lfthe special master fails to issue a decision in complete conformity with the tem1s

          of this Stipulation or if the Court of Federal Claims fails to enter judgment in confonnity with a

          decision that is in complete conformity with the terms of this Stipulation, then the parties'

       settlement and this Stipulation shall be voidable at the sole discretion of either party.

                 l 6. This Stipulation expresses a full and complete negotiated settlement of liability and

       damages claimed under the National Childhood Vaccine Injttry Act of 1986, as amended, except

       as otherwise noted in paragraph 9 above. There is absolutely no agreement on the pa1t of the

       parties hereto to make any payment or to do any act or thing other than is herein expressly stated

       and clearly agreed to. The parties further agree and understand that the award described in this

      stipulation may reflect a compromise of the parties' respective positions as to liability and/or

       amount of damages, and further, that a change in the nature of the inju:ry or condition or in the

      items of compensation sought, js not grounds to modify or revise this agreement.

                 17. This Stipul.ation shall not be construed as an admission by the United States or the

      Secretary of Health and Human Services that the influenza vaccine caused petitioner to suffer a

      shoulder injury or her current disabilities, or any other injury or condition, or that petitioner

      sustained an injury contained in the Vaccine Injury Table.

                 18. AU rights and obligations of petitioner hereunder shall apply equally to petitioner' s

      heirs, executors, administrators, successors, and/or assigns.

                                             END OF STIPULATION

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         Respectfully submitted,


        PETITIONER:



        ANITA MCDONALD


        ATTORNEY OF RECORD FOR                       AUTHORIZED REPRESENTATIVE
        PETITIONER:                                  OF THE ATTORNEY GENERAL:



                                                     ,HEATHER
                                                       MR~~          ?~
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        AUTHORIZED REPRESENTATIVE                    ATTORNEY OF RECORD FOR
        OF THE SECRETARY OF HEALTH                   RESPONDENT:
        AND HUMAN SERVICES:


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        CDR GEORGE REED GRIMES, MD, .l\frf>H         CAivnLG M. COLLETT
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